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USAO 2016R00142 PMC/jb

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND

Criminal No. Me f - /4-I2-2y

UNITED STATES OF AMERICA
v.

AMERICAN HOMEOWNER SERVICES,

(Toxic Substances Control Act,

 

WALTER CLEWS,
LARRY F. PRICE, and 15 U.S.C. § 2615(b), Aiding and
PAMALA GEREK, Abetting, 18 U.S.C. § 2)
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Defendants. ;- - =
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COUNTS ONE TO THREE SOS
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Toxic Substances Control Act

The United States Attorney for the District of Maryland charges that:

On or about the dates set out below, each one constituting a separate count, and within

the District of Maryland, the defendants,

AMERICAN HOMEOWNER SERVICES,
WALTER CLEWS,
LARRY PRICE, and
PAMALA GEREK,

knowingly failed to comply and caused others to fail to comply with the regulations for lead-

based paint activities under 40 C.F.R. Part 745, Subpart L and Maryland’s Code of Regulations, |

Chapters 26.16.01-26.16.05, to wit, the defendants failed to have a person accredited by the

Maryland Department of the Environment determine and certify that the target housing listed

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below was “lead-free,” and instead caused unaccredited and untrained American Homeowner

Services administrative staff to determine that the target housing was lead-free (when it was

not), and certify and sign the corresponding lead-free inspection reports, MDE Forms 330 (Lead

Paint Risk Reduction Certificate), and MDE Forms E (Lead-Free Inspection Summary Report),

on behalf of Defendant Larry Price, the inspector who in fact performed the inspections.

Count Date of Inspection

Address

 

21708 Saint Lo Place, Lexington Park, Maryland 20653

 

 

 

 

 

One June 3, 2014
Two June 5, 2014 8928 Frederick Avenue, North Beach, Maryland 20714
Three June 24, 2014 105 Ferdinand, Glen Burnie, Maryland 21061

 

15 U.S.C. § 2615(b)

18 U.S.C. § 2.

 
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COUNTS FOUR TO SIX
Toxic Substances Control Act

The United States Attorney for the District of Maryland further charges that:
On or about the dates set out below, each one constituting a separate count, and within
the District of Maryland, the defendants,

AMERICAN HOMEOWNER SERVICES, and
LARRY PRICE,

knowingly failed to comply and caused others to fail to comply with the work practice standards
for lead-based paint activities under 40 C.F.R. Part 745, Subpart L, and Maryland’s Code of
Regulations, Chapters 26.16.01-26.16.05; to wit LARRY PRICE and AMERICAN
HOMEOWNER SERVICES failed to test for the presence of lead-based paint in all required
painted areas when inspecting target housing for the presence of lead-based paint and failed to
document the presence of lead-based paint in these residences when, in fact, all three contained

lead-based paint.

 

 

 

 

Count Date of Inspection Address
Four | June 3, 2014 21708 Saint Lo Place, Lexington Park, Maryland 20653
Five | June 5, 2014 8928 Frederick Avenue, North Beach, Maryland 20714
Six | June 24, 2014 105 Ferdinand, Glen Burnie, Maryland 21061

 

 

 

 

 

15 U.S.C. § 2615(b)

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Robert K. Hur y

United States Attorney
